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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

        Plaintiff,

v.

ANGEL BUSTOS-AGUIRRE, et al.,

        Defendants.                                          No. 04-CR-30029-DRH

                                       ORDER

HERNDON, District Judge:

              Now before the court is a Third Motion to Continue Sentencing filed by

Defendant Johnny W. Johnson (Doc. 239).            Mr. Johnson’s counsel, Robert H.

McNeill, Jr. and Mark B. Albrecht, state that because Mr. Johnson has agreed to

cooperate and provide testimony for the government at the trial of Quawntay Adams,

he wishes to continue his sentencing, currently on September 15, 2006, until after

Mr. Adams’ trial – recently further continued from June 26, 2006 to September 11,

2006.     Therefore, the Court GRANTS Johnson’s Third Motion to Continue

Sentencing (Doc. 239) and CONTINUES the sentencing hearing for defendant

Johnson, scheduled for Friday, September 15, 2006 at 1:30 p.m. to Friday,

September 22, 2006, at 9:00 a.m.

              IT IS SO ORDERED.

              Signed this 6th day of July, 2006.
                                                        /s/        David RHerndon
                                                        United States District Judge
